                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

FRANCISCO D. LOPEZ and                           )
MARIA G. LOPEZ,                                  )
                                                 )
                         Plaintiffs,             )
                                                 )
vs.                                              )    Case No. 17-00936-CV-W-GAF
                                                 )
ATLAS GENERAL INSURANCE                          )
SERVICES, LLC and JACK ERICSON                   )
d/b/a AFFORDABLE INSURANCE                       )
SERVICES,                                        )
                                                 )
                        Defendants.              )

                                       RULES OF TRIAL

       1.       The Court will conduct an initial voir dire to elicit general information. At the

conclusion of the Court’s questioning, counsel will be afforded no longer than fifteen (15)

minutes for each side to pose additional questions to the panel, unless prior approval is obtained

from the Court.

       2.       Opening statements are limited to thirty (30) minutes for each side.

       3.       No visual aid or exhibit shall be used during an opening statement unless

opposing counsel has been shown the visual aid or exhibit and has agreed that the item may be

used during the opening statement.

       4.       The interrogation of each witness shall consist of: (1) direct examination; (2)

cross-examination; (3) redirect examination; and (4) re-cross examination.             No further

questioning will be permitted except by leave of Court in extraordinary circumstances.

       5.       The direct examination of each fact witness, other than parties, shall be no longer

than sixty (60) minutes. Cross-examination shall be no longer than direct. Redirect shall be no

longer than twenty (20) minutes, and recross-examination shall be no longer than redirect. These
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time limits shall not be changed except with leave of Court for good cause addressed at the

earliest opportunity available which in most instances should be at or before the pretrial

conference.

          6.       Only one (1) counsel per party may examine a witness. See Local Rule 83.3(b).

          7.       Counsel may approach the witness for any legitimate purpose without requesting

permission to do so. However, witnesses shall be interrogated from a reasonable distance and

shall not be badgered.

          8.       If a podium is provided, counsel may use it, but are not required to do so.

However, counsel will not be allowed to intrude into the jury’s space. Furthermore, no paper or

object shall be placed on the railing in front of the jury box.

          9.       Except in unusual circumstances, counsel should stand when addressing the Court

or when examining the witness. See Local Rule 83.3(a).

          10.      Except in unusual circumstances, a witness should be allowed to complete an

answer. If the question calls for a “yes” or “no” answer, you may anticipate that the witness will

be allowed an opportunity to explain that answer.

          11.      When making an objection, counsel should say only “objection,” plus the legal

reason for the objection, e.g., leading, hearsay, etc. If objecting counsel desires to give reasons

for the objection or if an opposing counsel desires to oppose the objection, counsel shall request

leave to approach the bench.

          12.      Unless permission is granted before the trial begins, a maximum of two (2) expert

witnesses shall be allowed to testify for any party on any one (1) subject.           After counsel

questions an expert about his/her qualifications, do not ask the Court to declare the witness an

expert.



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        13.     Visible reactions to the testimony of witnesses, counsels’ presentations or to the

Court’s rulings (such as facial or body gestures), are inappropriate.

        14.     Do not converse with your client or co-counsel in a manner that your conversation

may be heard by the Court.

        15.     Each party shall mark each of their exhibits prior to trial with an exhibit sticker

indicating whether the exhibit is being offered by the plaintiff or the defendant, along with the

exhibit number. The designation for each exhibit shall match the numeric designation for that

exhibit on the exhibit list furnished to the clerk prior to trial.

        16.     Witnesses will remain in the witness chair unless leave of court is granted for a

witness to reference an exhibit and then the witness shall return to the witness chair immediately

after referencing the exhibit. Witnesses will not be allowed to testify standing in front of the jury

without leave of court to do so.          Leave will only be granted as deemed necessary and

appropriate.

        17.     Blow-up exhibits are to be displayed between the jury box and back wall (bench

side of courtroom) in a fashion that allows them to be seen by the jury and the judge.

        18.     Excessive bench conferences will not be allowed.

        19.     The court will determine when breaks in the trial will take place. Counsel should

not request or suggest a break except at the bench because of unusual circumstances.

        20.     No food or drink is allowed in the courtroom except for water.

        21.     The length of closing arguments will be established during the instruction

conference.

        22.     Instructions will be read to the jury before closing arguments. The jury will be

given a copy of the instructions after closing arguments for use during deliberations.



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          23.   After the jury retires, each side shall assemble their exhibits and keep them

available in the courtroom. Counsel and their clients should remain in the courthouse and advise

the Court’s staff where they will be located while the jury is deliberating.

          24.   After the jury returns its verdict, be prepared to tell the Court if you want the jury

polled.

          25.   After the jury is dismissed, each counsel must take possession of his/her exhibits

from the courtroom deputy and sign the receipt at the bottom of the exhibit list.



                                                       s/ Gary A. Fenner
                                                       GARY A. FENNER, JUDGE
                                                       UNITED STATES DISTRICT COURT

DATED: December 21, 2017




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